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                          UNITED STATES DISTRICT COURT
                WESTERN DISTRICT OF LOUISIANA - LAFAYETTE DIVISION

                                                      CIVIL CASE NO. 15-2018
      GOLDMAN SACHS BANK USA,
            Plaintiff,                                JUDGE REBECCA F. DOHERTY

      v.                                              MAGISTRATE CAROL B. WHITEHURST

      MICHEL B. MORENO, TIFFANY C.
      MORENO, MBM 2011 DOH GRANTOR
      RETAINED ANNUITY TRUST, TCM 2011
      DOH GRANTOR RETAINED ANNUITY
      TRUST, MBM 2011 MGH GRANTOR
      RETAINED ANNUITY TRUST, TCM 2011
      MGH GRANTOR RETAINED ANNUITY
      TRUST, MORENO PROPERTIES TWO,
      L.L.C., AND NICHOLSON ESTATES,
      L.L.C.,

            Defendants.


                          MICHEL AND TIFFANY MORENO’S
                 INITIAL APPEARANCE, ANSWER, AND COUNTERCLAIM

           Defendants, Michel and Tiffany Moreno (“Moreno” or “Defendants”), through

  undersigned counsel, submit their Initial Appearance 1, Answer and Counterclaim to the Verified

  Complaint to Foreclose by Executory Process, With Benefit of Appraisal (“the Complaint”) filed

  on behalf of Goldman Sachs Bank USA (“Goldman” or “Plaintiff”).

                                             ANSWER

           Defendants Michel and Tiffany Moreno (“Moreno”) respectfully answer as follows:

           1.     The Plaintiff is Goldman Sachs Bank USA, a New York state-chartered bank with

  its principal place of business in New York (the “Plaintiff” or the “Mortgagee”).



  1
   Moreno has never been served with process in this lawsuit. Accordingly, there is no deadline by
  which Moreno must file an answer or counterclaim. This pleading is Moreno’s first filing and
  appearance in this lawsuit.
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         RESPONSE: Defendants have no knowledge of the domicile or principal place of

  business of Plaintiff and, accordingly, can neither admit or deny the allegations of

  Paragraph 1 of the Complaint.

         2.      Made Defendants herein are (collectively referred to as the “Defendants”):

                 (a)    Michel B. Moreno (“Mr, Moreno”), who is over the age of majority and

  residing in Harris County, Texas, and is therefore considered a citizen of the State of Texas;

                 (b)    Tiffany C. Moreno (“Ms. Moreno”), who is over the age of majority and

  residing in Harris County, Texas, and is therefore considered a citizen of the State of Texas;

                 (c)    ‘MBM 2011 DOH Grantor Retained Annuity Trust (“MBM-DOH”),

  which is a Louisiana trust managed by the trustee, Dalis Moreno Waguespack, who is over the

  age of majority and residing in Lafayette Parish, Louisiana, and is therefore considered a citizen

  of the State of Louisiana (Navarro Savings Association v. Lee, 446 U.S. 458 (1980));

                 (d)    TCM 2011 DOH Grantor Retained Annuity Trust (“TCM-DOH”), which

  is a Louisiana trust managed by the trustee, Dalis Moreno Waguespack, who is over the age of

  majority and residing in Lafayette Parish, Louisiana, and is therefore considered a citizen of the

  State of Louisiana (Navarro Savings Association v. Lee, 446 U.S. 458 (1980));

                 (e)    MBM 2011 MGH Grantor Retained Annuity Trust (“MBM-MGH”),

  which is a Louisiana trust managed by the trustee, Dalis Moreno Waguespack, a person over the

  age of majority and residing in Lafayette Parish, Louisiana, and is therefore considered a citizen

  of the State of Louisiana (Navarro Savings Association v. Lee, 446 U.S. 458 (1980));

                 (f)    TCM 2011 MGH Grantor Retained Annuity Trust (“TCM-MGH”), which

  is a Louisiana trust managed by the trustee, Dalis Moreno Waguespack, a person over
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                 (g)     the age of majority and residing in Lafayette Parish, Louisiana, and is

  therefore considered a citizen of the State of Louisiana (Navarro Savings Association v. Lee, 446

  U.S. 458 (1980));

                 (h)     Moreno Properties Two, L.L.C. (“Moreno Properties Two”), is a

  Louisiana limited liability company with its sole member Moreno Properties, L.L.C., a Louisiana

  limited liability company with its members consisting of Mr. Moreno and Ms. Moreno, and is

  therefore considered a citizen of the State of Texas; and

                 (i)     Nicholson Estates, L.L.C. (“Nicholson Estates”), is a Louisiana limited

  liability company, with its sole member consisting of Moreno Properties, L.L.C., a Louisiana

  limited liability company with its members consisting of Mr. Moreno and Ms. Moreno, and is

  therefore considered a citizen of the State of Texas.

         RESPONSE: Defendants deny that they reside in Harris County as alleged in

  Paragraph 2 of the Complaint, but admit that they are citizens of Texas. Defendants

  neither admit nor deny the remaining allegations as to other parties.

                                          JURISDICTION

         3.      This Court has subject-matter jurisdiction over this matter pursuant to 28 U.S.C. §

  1332 because there is complete diversity of citizenship between the Plaintiff and Defendants, and

  because the amount in controversy exceeds $75,000, excluding interest and costs.

         RESPONSE: Paragraph 3 of the Complaint states a legal conclusion that need not

  be admitted or denied. Moreover, Defendants have no knowledge of the domicile and

  principal place of business of Plaintiff and all other defendants named in the Complaint

  and therefore cannot admit that complete diversity of citizenship exists; however,

  Defendants admit that the amount in controversy exceeds $75,000.00.
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         4.      The Plaintiff is considered a citizen of New York because it is a New York state-

  chartered bank with its principal place of business located in New York. None of the Defendants

  are considered citizens of the State of New York. Accordingly, there is complete diversity of

  citizenship between Plaintiff and Defendants.

         RESPONSE: Defendants have no knowledge of the domicile or principal place of

  business of Plaintiff and, accordingly, can neither admit or deny the allegations of

  Paragraph 4 of the Complaint; moreover, Paragraph 4 of the Complaint states a legal

  conclusion that need not be admitted or denied.

         5.      This Court has personal jurisdiction over Defendants because they are either

  considered citizens of Louisiana or regularly transact business in Louisiana. Further, this action

  arises from a promissory note that was made by the Borrowers (as defined hereafter in Paragraph

  7) in Plaintiff’s favor and secured by, among other things, a first, second, and third mortgage

  over immovable property located in Iberia Parish, Louisiana.

         RESPONSE: Paragraph 5 of the Complaint states a legal conclusion that need not

  be admitted or denied. The factual allegations of Paragraph 5 of the Complaint are denied

  in that they are inconsistent with the allegations in Paragraphs 2 (a) and (b) of the

  Complaint.

                                                 VENUE

         6.      Venue is proper in this district pursuant to 28 U.S.C. §1391(b)(2) because a

  substantial part of the immovable property at issue in this matter is in this district.

         RESPONSE: The factual allegations of Paragraph 6 of the Complaint are admitted

  but Defendants neither admit nor deny the legal conclusion stated therein that proper

  venue in this Court exists as to all defendants.
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                                  FACTS AND ALLEGATIONS

         A.      The Note and the Loan Agreement

         7.      Mr. Moreno, Ms. Moreno, MBM-DOH, TCM-DOH, MBM-MGH, TCM-TGH

  and Moreno Properties Two (the “Borrowers”), executed a Consolidated, Amended and Restated

  Note in favor of the Plaintiff (the “Note”), dated October 11, 2013, in the original principal

  amount of $52,370,000.00. The original Note is attached hereto and made a part of hereof as

  Exhibit 1.

         RESPONSE: The Exhibit referred to in Paragraph 7 is the best evidence of its own

  contents and, to the extent the allegations of this Paragraph may vary from those contents,

  said allegations are denied.

         8.      The Note provides that it is issued pursuant to, and is entitled to the benefits of,

  that certain Amended and Restated Loan Agreement, which amends and restates previous loan

  agreements, dated October 11, 2013 (the “October 11, 2013 Loan Agreement”). A copy of the

  October 11, 2013 Loan Agreement is attached hereto and made a part hereof as Exhibit 2. The

  October 11, 2013 Loan Agreement was amended and modified pursuant to that First Amended

  and Restated Loan Agreement dated June 30, 2014 (the “June 30, 2014 Loan Amendment”)

  (collectively the “Loan Agreement”). A copy of the June 30, 2014 Loan Amendment is attached

  hereto and made a part hereof as Exhibit 3.

         RESPONSE: The Exhibits referred to in Paragraph 8 are the best evidence of their

  own contents and, to the extent the allegations of this Paragraph may vary from those

  contents, said allegations are denied.

         9.      Pursuant to the Note and the Loan Agreement, before default, interest accrues on

  the Note at a per annum rate equal to the sum of: (i) LIBOR for the then-current LIBOR Reset

  Period (as defined in the Loan Agreement) plus (ii) a rate equal to 8% per annum.
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         RESPONSE: The Exhibits referred to in Paragraph 9 are the best evidence of their

  own contents and, to the extent the allegations of this Paragraph may vary from those

  contents, said allegations are denied.

         10.     After default, the principal balance of all accrued and unpaid interest due on the

  Note and all other obligations, interest, fees, charges and expenses of the Borrowers to the

  Plaintiff arising in connection with the Loan Documents (the “Obligations”), shall bear an

  interest rate that is 15% per annum in excess of the interest rate otherwise applicable to such

  Obligations from time to time until paid (the “Default Interest”), to the extent permitted by

  applicable law. Any interest payable pursuant to the foregoing proviso which is not paid when

  due may be added to the outstanding principal sum of the Loans, as defined in the Loan

  Agreement, and itself bear interest accordingly to the extent permitted by applicable law.

         RESPONSE: The Exhibits referred to in Paragraph 10 are the best evidence of

  their own contents and, to the extent the allegations of this Paragraph may vary from those

  contents, said allegations are denied.

         11.     The Note also provides that the Borrowers shall pay all of Plaintiff’s costs and

  expenses including, without limitation, all reasonable attorneys’ fees and expenses incurred in

  connection with the enforcement of or preservation of rights under the Note, Loan Agreement, or

  other loan documents (collectively the “Loan Documents”).

         RESPONSE: The Exhibits referred to in Paragraph 11 are the best evidence of

  their own contents and, to the extent the allegations of this Paragraph may vary from those

  contents, said allegations are denied.

         12.     The Note is in default for, among other things, failing to pay the outstanding

  amounts due under the Note on the stated “Maturity Date”, July 11, 2014.
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         RESPONSE: The Exhibit referred to in Paragraph 12 is the best evidence of its own

  contents and, to the extent the allegations of this Paragraph may vary from those contents,

  said allegations are denied.      Moreover, Paragraph 12 of the Complaint states a legal

  conclusion that need not be admitted or denied.

         13.     Upon default, the Plaintiff exercised its right to accelerate the Maturity Date,

  making the Obligations under the Loan Documents due and exigible.

         RESPONSE: The documents referred to in Paragraph 13 are the best evidence of

  their own contents and, to the extent the allegations of this Paragraph may vary from those

  contents, said allegations are denied. Moreover, Paragraph 13 of the Complaint states a

  legal conclusion that need not be admitted or denied.

         14.     Despite amicable demand, the total outstanding amount due under the Loan

  Documents is $58,437,735.51, comprised of the following, as of June 15, 2015:

                 (a)     Principal in the amount of $47,401,003.16; and

                 (b)     Accrued interest, in the amount of $11,464,099.79. After June 15, 2015,

  interest will continue to accrue on the principal balance due, as described in the Loan

  Documents, until paid. In addition to the foregoing, the Plaintiff is entitled to its reasonable

  attorneys’ fees in collecting the amounts due and owing under the Loan Documents and all costs

  of these proceedings including any additional sums authorized by the Loan Documents that may

  become due to the Plaintiff until the U.S. Marshall’s sale.

         RESPONSE: The Exhibits referred to in Paragraph 14 are the best evidence of

  their own contents and, to the extent the allegations of this Paragraph may vary from those

  contents, said allegations are denied. Moreover, Paragraph 14 of the Complaint states a
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  legal conclusion that need not be admitted or denied; however, if an answer is deemed

  requisite, the allegations are denied based on the allegations set forth herein.

              B.    The Mortgages on the Nicholson Estates Property and the Port Road
                    Property

         15.       The Loan Documents are secured by, among other things, a first mortgage over

  the Nicholson Estates Property (as defined hereafter in Paragraph 19) and a first, second, and third

  mortgage on the Port Road Property (as defined hereafter in Paragraph 26).

         RESPONSE: The Exhibits referred to in Paragraph 15 are the best evidence of

  their own contents and, to the extent the allegations of this Paragraph may vary from those

  contents, said allegations are denied. Moreover, Paragraph 15 of the Complaint states a

  legal conclusion that need not be admitted or denied, but to the extent an answer is deemed

  requisite, same are denied.

         i.        The First Mortgage on the Nicholson Estates Property

         16.       The first mortgage on the Nicholson Estates Property, is evidenced by, inter alia, that

  certain Mortgage, Assignment of Rents and Leases, Collateral Assignment of Property Agreements,

  Material Agreements and Security Agreement (the “Nicholson Estates Mortgage”), encumbering

  certain immovable property located in East Baton Rouge Parish, Louisiana, dated October 11, 2013.

  The Nicholson Estates Mortgage was passed before a notary public and two witnesses, and properly

  recorded on October 21, 2013, in the records of East Baton Rouge Parish, Louisiana, at Orig. 968,

  Bndl. 12537. A certified copy of the Nicholson Estates Mortgage is attached hereto as Exhibit 4.

         RESPONSE: Defendants allege that Exhibit 4 is the best evidence of its own

  contents and, to the extent the allegations of Paragraph 16 of the Complaint may vary from

  those contents, said allegations are denied. Furthermore, the legal conclusions contained in
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  Paragraph 16 need not be admitted nor denied but, to the extent an answer is deemed

  requisite, same are denied.

         17.    The Nicholson Estates Mortgage was executed by Nicholson Estates (the

  “Nicholson Mortgagor”), through its sole member, Moreno Properties, L.L.C., represented by

  Mr. Moreno, its manager and duly authorized representative pursuant to a certified resolution of

  its Manager, attached to the Nicholson Mortgage. See Exhibit 4.

         RESPONSE: Defendants admit execution of the original document attached as

  Exhibit 4 to the Complaint as alleged in Paragraph 17 but allege that that Exhibit is the

  best evidence of its own contents and, to the extent the allegations of Paragraph 17 of the

  Complaint may vary from those contents, said allegations are denied. Furthermore, the

  legal conclusions contained in Paragraph 17 need not be admitted nor denied but, to the

  extent an answer is deemed requisite, same are denied.

         18.    The Nicholson Estates Mortgage was granted to secure the full and prompt

  payment of the Note, the Loan Agreement and Loan Documents, together with interest,

  attorneys’ fees, costs of these proceedings, payment of insurance premiums, taxes, keeper’s fees,

  and the performance of all other obligations under the Nicholson Estate Mortgage (the

  “Nicholson. Indebtedness”).

         RESPONSE: Defendants allege that the referenced Exhibits are the best evidence of

  their own contents and, to the extent the allegations of Paragraph 18 of the Complaint may

  vary from those contents, said allegations are denied. Furthermore, the legal conclusions

  contained in Paragraph 18 need not be admitted nor denied but, to the extent an answer is

  deemed requisite, same are denied.
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          19.     Pursuant to the Nicholson Estates Mortgage, in order to secure the prompt and

   punctual payment and satisfaction of the Nicholson Indebtedness, the Nicholson Mortgagor

   specifically-mortgaged, affected and hypothecated unto and in favor of the Mortgagee, any and

   all of the Nicholson Mortgagor’s present and future rights, title and interest in and to the certain

   immovable property, located in Baton Rouge, Louisiana, a complete legal description of which is

   attached hereto as Exhibit 5 (the “Nicholson Estates Property”).

          RESPONSE: Defendants allege that the referenced Exhibits are the best evidence of

   their own contents and, to the extent the allegations of Paragraph 19 of the Complaint may

   vary from those contents, said allegations are denied. Furthermore, the legal conclusions

   contained in Paragraph 19 need not be admitted nor denied but, to the extent an answer is

   deemed requisite, same are denied.

          20.     A certified copy of the corresponding UCC-1 Financing Statement (the

   “Nicholson Estates UCC Financing Statement”), filed and recorded in East Baton Rouge Parish

   at UCC Number XX-XXXXXXX, in connection with the security interest granted in the personal and

   movable property of the Nicholson Estates Property is attached hereto as Exhibit 6, The property

   described in the Nicholson Estates UCC Financing Statement is included in the Nicholson

   Estates Property description. See Exhibit 5.

          RESPONSE: Defendants allege that the referenced Exhibits are the best evidence of

   their own contents and, to the extent the allegations of Paragraph 20 of the Complaint may

   vary from those contents, said allegations are denied. Furthermore, the legal conclusions

   contained in Paragraph 20 need not be admitted nor denied but, to the extent an answer is

   deemed requisite, same are denied.
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          21.     The Nicholson Mortgagor specifically acknowledged that the Nicholson Estates

   Property shall be collateral for the entire Note, Loan Agreement, and any other Loan Documents

   made by the Borrowers and shall be cross-collateralized with the additional properties identified

   in the Nicholson Estates Mortgage and shall be cross-defaulted with the mortgages recorded

   against such additional properties in favor of Mortgagee as collateral for the loan.

          RESPONSE: Defendants allege that the referenced Exhibits are the best evidence of

   their own contents and, to the extent the allegations of Paragraph 21 of the Complaint may

   vary from those contents, said allegations are denied. Furthermore, the legal conclusions

   contained in Paragraph 21 need not be admitted nor denied but, to the extent an answer is

   deemed requisite, same are denied.

          ii.     The First Mortgage on the Port Road Property

          22.     The first mortgage on the Port Road Property was executed by Moreno Properties

   Two in favor of Regions Banks evidenced by, inter alia, that certain Multiple Indebtedness

   Mortgage, Collateral Assignment of Leases and Rents, and Security Agreement (the “Original

   First Mortgage”), encumbering certain immovable property located in Iberia Parish, Louisiana,

   dated September 15, 2010. The Original First Mortgage was passed before a notary public and

   two witnesses, and properly recorded on September 15, 2010, in the records of Iberia Parish,

   Louisiana, at Book 1465, Page 63 under File No. 2010-00010271. A certified copy of the

   Original First Mortgage is attached hereto as Exhibit 7.

          RESPONSE: Defendants allege that the referenced Exhibits are the best evidence of

   their own contents and, to the extent the allegations of Paragraph 22 of the Complaint may

   vary from those contents, said allegations are denied. Furthermore, the legal conclusions
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   contained in Paragraph 22 need not be admitted nor denied but, to the extent an answer is

   deemed requisite, same are denied.

          23.     Moreno Properties Two (the “Moreno Mortgagor”), executed the Original First

   Mortgage through its sole member, Moreno Properties, L.L.C., represented by Mr. Moreno, its

   manager and duly authorized representative pursuant to a written consent of the member, a

   certified copy of which is attached to the Original First Mortgage (See Exhibit 7).

          RESPONSE: Defendants allege that Exhibit 7 is the best evidence of its own

   contents and, to the extent the allegations of Paragraph 23 of the Complaint may vary from

   those contents, said allegations are denied. Furthermore, the legal conclusions contained in

   Paragraph 23 need not be admitted nor denied but, to the extent an answer is deemed

   requisite, same are denied.

          24.     The Original First Mortgage was assigned to Plaintiff pursuant to that certain

   Assignment of Multiple Indebtedness Mortgage, Collateral Assignment of Leases and Rents, and

   Security Agreement, dated October 11, 2013, executed in the presence of a notary and two

   witnesses, and properly recorded in the records of Iberia Parish, Louisiana, at Book 1579, Page

   174 under File No. 2013-00011972 (the “Assignment of the Original First Mortgage”). A

   certified copy of the Assignment of the First Mortgage is attached hereto as Exhibit 8.

          RESPONSE: Defendants allege that Exhibit 8 is the best evidence of its own

   contents and, to the extent the allegations of Paragraph 24 of the Complaint may vary from

   those contents, said allegations are denied. Furthermore, the legal conclusions contained in

   Paragraph 24 need not be admitted nor denied but, to the extent an answer is deemed

   requisite, same are denied.
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          25.     The Original First Mortgage was later amended and modified by that certain

   Mortgage Modification to Multiple Indebtedness Mortgage, Collateral Assignment of Leases and

   Rents, and Security Agreement, recorded in the records of Iberia Parish, Louisiana, at Book

   1579, Page 290 under File No. 2013-00011974 (the “First Mortgage Modification”). The First

   Mortgage Modification, a certified copy of which is attached hereto as Exhibit 9, modified the

   terms to provide, among other things, that the Port Road Property shall be collateral for up to

   $40,000,000 of the loan made to the Borrowers as evidenced by the Note (the “First Port Road

   Indebtedness”). The Mortgage Modification further provides, among other things, that the

   Moreno Mortgagor specifically acknowledged that the Port Road Property shall be collateral for

   the entire Note, Loan Agreement, and any other Loan Document made by the Borrowers and

   shall be cross-collateralized with the additional properties identified in the First Mortgage

   Modification and shall be cross-defaulted with the mortgages recorded against such additional

   properties in favor of Mortgagee as collateral for the loan. The Original First Mortgage, the

   Assignment of the Original First Mortgage, and the First Mortgage Modification shall

   collectively be referred to as the “First Mortgage”).

          RESPONSE: Defendants allege that the referenced Exhibits are the best evidence of

   their own contents and, to the extent the allegations of Paragraph 25 of the Complaint may

   vary from those contents, said allegations are denied. Furthermore, the legal conclusions

   contained in Paragraph 25 need not be admitted nor denied but, to the extent an answer is

   deemed requisite, same are denied.

          26.     Pursuant to the First Mortgage, in order to secure the prompt and punctual

   payment and satisfaction of the First Port Road Indebtedness, the Moreno Mortgagor specifically

   mortgaged, affected and hypothecated unto and in favor of the Mortgagee, any and all of the
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   Moreno Mortgagor’s present and future rights, title and interest in and to the certain immovable

   property, located in New Iberia, Louisiana, a complete legal description of which is as attached

   hereto as Exhibit 10 (the “Port Road Property”),

          RESPONSE: Defendants allege that Exhibit 10 is the best evidence of its own

   contents and, to the extent the allegations of Paragraph 26 of the Complaint may vary from

   those contents, said allegations are denied. Furthermore, the legal conclusions contained in

   Paragraph 26 need not be admitted nor denied but, to the extent an answer is deemed

   requisite, same are denied.

          27.    Certified copies of the corresponding UCC-1 Financing Statements and UCC-3,

   Financing Statements (the “The Port Road UCC Financing Statements”), filed and recorded in

   Iberia Parish at File Numbers: 2013-00004005, 2013-00004004, 2013-00003979, 2013-

   00003978, 2013-00003977, 2013-00003980, in connection with the security interest granted in

   the personal and movable property of the Port Road Property on the First, Second, and Third

   Mortgages, as defined herein, are collectively attached as Exhibit 11. The property described in

   the Port Road UCC Financing Statements is included in the Port Road Property description. See

   Exhibit 10.

          RESPONSE: Defendants allege that the referenced Exhibits are the best evidence of

   their own contents and, to the extent the allegations of Paragraph 27 of the Complaint may

   vary from those contents, said allegations are denied. Furthermore, the legal conclusions

   contained in Paragraph 27 need not be admitted nor denied but, to the extent an answer is

   deemed requisite, same are denied.
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          iii.   The Second Mortgage on the Port Road Property

          28.    The second mortgage on the Port Road Property was executed by Moreno

   Properties Two in favor of the Plaintiff as evidenced by that certain Second Lien Mortgage,

   Assignment of Rents and Leases, Collateral Assignment of Property Agreements, Material

   Agreements and Security Agreement (the “Original Second Mortgage”), encumbering certain

   immovable property located in Iberia Parish, Louisiana, dated October 10, 2011 The. Original

   Second Mortgage was passed before a notary public and two witnesses, and properly recorded on

   October 22, 2013, in the records of Iberia Parish, Louisiana, at Book 1579, Page 178 under File

   No. 2013-00011973. A certified copy of the Original Second Mortgage is attached hereto as

   Exhibit 12.

          RESPONSE: Defendants allege that Exhibit 12 is the best evidence of its own

   contents and, to the extent the allegations of Paragraph 28 of the Complaint may vary from

   those contents, said allegations are denied. Furthermore, the legal conclusions contained in

   Paragraph 28 need not be admitted nor denied but, to the extent an answer is deemed

   requisite, same are denied.

          29.    The Original Second Mortgage was executed by Moreno Properties Two through

   its sole member, Moreno Properties, L.L.C., represented by Mr. Moreno, its manager and duly

   authorized representative pursuant to a written consent of the member, a certified copy of which

   is attached to the Original Second Mortgage (See Exhibit 12).

          RESPONSE: Defendants allege that Exhibit 12 is the best evidence of its own

   contents and, to the extent the allegations of Paragraph 29 of the Complaint may vary from

   those contents, said allegations are denied. Furthermore, the legal conclusions contained in
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   Paragraph 29 need not be admitted nor denied but, to the extent an answer is deemed

   requisite, same are denied.

          30.     The Original Second Mortgage was later amended and modified by that certain

   Mortgage Modification to Second Lien Mortgage, Collateral Assignment of Property

   Agreements, Material Agreements and Security Agreement, recorded in the records of Iberia

   Parish, Louisiana, at Book 1579, Page 408 under File No. 2013-00011975 (the “Second

   Mortgage Modification”). The Second Mortgage Modification, a certified copy of which is

   attached hereto as Exhibit 13, modified the terms to provide, among other things, that the Port

   Road Property shall be collateral for up to $40,000,000 of the loan made to the Borrowers as

   evidenced by the Note (the “Second Port Road Indebtedness”). The Original Second Mortgage

   and the Second Mortgage Modification shall collectively be referred to as the “Second

   Mortgage.”

          RESPONSE: Defendants allege that the referenced Exhibits are the best evidence

   of their own contents and, to the extent the allegations of Paragraph 30 of the Complaint

   may vary from those contents, said allegations are denied. Furthermore, the legal

   conclusions contained in Paragraph 30 need not be admitted nor denied but, to the extent

   an answer is deemed requisite, same are denied.

          31.     Pursuant to the Second Mortgage, in order to secure the prompt and punctual

   payment and satisfaction of the Second Port Road Indebtedness, the Moreno -Mortgagor

   specifically mortgaged, affected and hypothecated unto and in favor of the Mortgagee, any and

   all of the Moreno Mortgagor’s present and future rights, title and interest in the above-described

   Port Road Property. The Moreno Mortgagor specifically acknowledged that the Port Road

   Property shall be collateral for the entire Note, Loan Agreement, and any other Loan Document
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   made by the Borrowers and shall be cross-collateralized with the additional properties identified

   in the Original Second Mortgage and shall be cross-defaulted with the mortgages recorded

   against such additional properties in favor of Mortgagee as collateral for the loan.

          RESPONSE: Defendants allege that the referenced Exhibit is the best evidence of

   its own contents and, to the extent the allegations of Paragraph 31 of the Complaint may

   vary from those contents, said allegations are denied. Furthermore, the legal conclusions

   contained in Paragraph 31 need not be admitted nor denied but, to the extent an answer is

   deemed requisite, same are denied.

          iv.     The Third Mortgage on the Port Road Property

          32.     The third mortgage on the Port Road Property is evidenced by, inter alia, that

   certain Third Lien Mortgage, Assignment of Rents and Leases, Collateral Assignment of

   Property Agreements, Material Agreements and Security Agreement (the “Original Third

   Mortgage”), encumbering certain immovable property located in Iberia Parish, Louisiana, dated

   October 11, 2013. The Original Third Mortgage provides that the Port Road Property shall be

   collateral for up to $12,370,000, plus all interest, attorneys’ fees, insurance premiums, municipal

   charges, taxes, costs and expenses, of the loan made to the Borrowers as evidenced by the Note

   (the “Third Port Road Indebtedness”). The Original Third Mortgage was passed before a notary

   public and two witnesses, and properly recorded on October 22, 2013, in the records of Iberia

   Parish, Louisiana, at Book 1579, Page 416 under File No. 2013-00011976. A certified copy of

   the Original Third Mortgage is attached hereto as Exhibit 14.

          RESPONSE: Defendants allege that Exhibit 14 is the best evidence of its own

   contents and, to the extent the allegations of Paragraph 32 of the Complaint may vary from

   those contents, said allegations are denied. Furthermore, the legal conclusions contained in
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   Paragraph 32 need not be admitted nor denied but, to the extent an answer is deemed

   requisite, same are denied.

          33.    The Original Third Mortgage was executed by Moreno Properties Two, through

   its sole member, Moreno Properties, L.L.C., represented by Mr. Moreno, its manager and duly

   authorized representative pursuant to a written consent of the member, a certified copy of which

   is attached to the Original Third Mortgage (See Exhibit 14).

          RESPONSE: Defendants allege that Exhibit 14 is the best evidence of its own

   contents and, to the extent the allegations of Paragraph 33 of the Complaint may vary from

   those contents, said allegations are denied. Furthermore, the legal conclusions contained in

   Paragraph 33 need not be admitted nor denied but, to the extent an answer is deemed

   requisite, same are denied.

          34.    The Original Third Mortgage was assigned by MBM-MGH and TCM-MGI:I ,

   through their duly authorized representative, the trustee, Dalip Moreno Waguespack, to Plaintiff

   pursuant to that certain Assignment of Third Lien Mortgage, Assignment of Rents and Leases,

   Collateral Assignment of Property Agreements, Material Agreements and Security Agreement,

   dated October 11, 2013, executed in the presence of a notary and two witnesses, and properly

   recorded in the records of Iberia Parish, Louisiana, at Book 1579, Page 528 under File No.

   2013¬00011977 (the “Assignment of the Original Third Mortgage”). A certified copy of the

   Assignment of the Original Third Mortgage is attached hereto as Exhibit 15. The Original Third

   Mortgage and the Assignment of the Original Third Mortgage, shall collectively be referred to as

   the “Third Mortgage.”

          RESPONSE: Defendants allege that the referenced Exhibits are the best evidence of

   their own contents and, to the extent the allegations of Paragraph 34 of the Complaint may
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   vary from those contents, said allegations are denied. Furthermore, the legal conclusions

   contained in Paragraph 34 need not be admitted nor denied but, to the extent an answer is

   deemed requisite, same are denied.

          35.     Pursuant to the Third Mortgage, in order to secure the prompt and punctual

   payment and satisfaction of the Third Port Road Indebtedness, the Moreno Mortgagor

   specifically mortgaged, affected and hypothecated unto and in favor of the Mortgagee, any and

   all of the Trust Mortgagors’ present and future rights, title and interest in the above-described

   Port Road Property. The Moreno Mortgagor specifically acknowledged that the Port Road

   Property shall be collateral for the entire Note, Loan Agreement, and any other Loan Document

   made by the Borrowers and shall be cross-collateralized with the additional properties identified

   in the Original Third Mortgage and shall be cross-defaulted with the mortgages recorded against

   such additional properties in favor of Mortgagee as collateral for the loan.

          RESPONSE: Defendants allege that the referenced Exhibits are the best evidence

   of their own contents and, to the extent the allegations of Paragraph 35 of the Complaint

   may vary from those contents, said allegations are denied. Furthermore, the legal

   conclusions contained in Paragraph 35 need not be admitted nor denied but, to the extent

   an answer is deemed requisite, same are denied.

          v.      The Mortgages on the Nicholson Estates Property and the Port Road

   Property and the Confession of Judgment

          36.     The Nicholson Indebtedness, the First Port Road Indebtedness, the Second Port

   Road Indebtedness, and the Third Port Road Indebtedness shall collectively be referred to as the

   “Indebtedness.”
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          RESPONSE: Paragraph 36 of the Complaint alleges no facts capable of being

   admitted or denied but, to the extent an answer is deemed requisite, same are denied.

          37.     Pursuant to the Nicholson Estates Mortgage and each of the Port Road Mortgages

   (collectively the “Mortgages”), for the purposes of foreclosure under Louisiana executory

   process procedures, (the Nicholson Mortgagor and the Moreno Mortgagor shall collectively be

   referred to as the “Mortgagors”), the Mortgagors confessed judgment up to the full amount of the

   Indebtedness in favor of the Mortgagee. See Exhibit 4, p. 108, Exhibit 7, p. 9, Exhibit 9, p. 113,

   Exhibit, 12, p. 107, Exhibit 14 p. 107). The Mortgagors also waived the right to the notice of

   seizure and all other benefits provided under articles 2331, 2722, 2723 of the Louisiana Code of

   Civil Procedure.

          RESPONSE: For answer to Paragraph 37, Defendants allege that the Exhibits to

   the Complaint referred to therein are the best evidence of their own contents and, to the

   extent the allegations of Paragraph 37 of the Complaint may vary from those contents, said

   allegations are denied. Furthermore, the legal conclusions contained in Paragraph 37 need

   not be admitted nor denied but, to the extent an answer is deemed requisite, same are

   denied.

          38.     Pursuant to each of the Mortgages, the Mortgagors consented and agreed that, in

   the event the Mortgagee elects to commence appropriate Louisiana foreclosure proceedings

   under the Mortgages, the Mortgagee may cause the Nicholson Estates Property and the Port

   Road Property to be immediately seized and sold, under ordinary or executory process, in

   accordance with applicable Louisiana law, without appraisement, which was expressly waived,

   to the highest bidder for cash, and without the necessity of making additional demand upon or
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   notifying the Mortgagors or placing the Mortgagors in default, all of which were expressly

   waived in the Mortgages.

          RESPONSE: For answer to Paragraph 38, Defendants allege that the Exhibits to

   the Complaint referred to therein are the best evidence of their own contents and, to the

   extent the allegations of Paragraph 38 of the Complaint may vary from those contents, said

   allegations are denied. Furthermore, the legal conclusions contained in Paragraph 38 need

   not be admitted nor denied but, to the extent an answer is deemed requisite, same are

   denied.

          39.     Pursuant to each of the Mortgages, the Mortgagors agreed that, should any or all

   of the Nicholson Estates Property or the Port Road Property be seized as an incident to an action

   for recognition or enforcement of the Mortgage, pursuant to the provisions of the Louisiana

   Revised Statutes, Title 9, Section 5136, the court issuing any such order shall, if requested by the

   Mortgagee, appoint the Mortgagee, or any agent designated by the Mortgagee, or any person or

   entity named by Mortgagee at the time such seizure is required, or at any time thereafter, as

   keeper of the Mortgaged Property as provided under La. R.S. 9:5136 -5140.2 (the “Keeper”).

   The Mortgagors further agreed to pay the Keeper.

          RESPONSE: For answer to Paragraph 39, Defendants allege that the Exhibits to

   the Complaint referred to therein are the best evidence of their own contents and, to the

   extent the allegations of Paragraph 39 of the Complaint may vary from those contents, said

   allegations are denied. Furthermore, the legal conclusions contained in Paragraph 39 need

   not be admitted nor denied but, to the extent an answer is deemed requisite, same are

   denied.
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          40.     Pursuant to each of the Mortgages, the Mortgagors agreed that, should it become

   necessary for the Mortgagee to foreclose under the Mortgages, all declarations of fact, which are

   made under an authentic act before a Notary Public in the presence of two witnesses, by a person

   declaring such facts to lie within his or her knowledge, shall constitute authentic evidence for

   purposes of executory process and also for purposes of La. R.S. 9:3509.1, La. R.S. 9:3504(D)(6)

   and La. R.S. 10:9-629, where applicable.

          RESPONSE: For answer to Paragraph 40, Defendants allege that the Exhibits to

   the Complaint referred to therein are the best evidence of their own contents and, to the

   extent the allegations of Paragraph 40 of the Complaint may vary from those contents, said

   allegations are denied. Furthermore, the legal conclusions contained in Paragraph 40 need

   not be admitted nor denied but, to the extent an answer is deemed requisite, same are

   denied.

          41.     The Mortgagors further agreed that all reasonable costs, expenses and liabilities of

   every character incurred by the Mortgagee in connection with managing, operating and

   maintaining the Nicholson Estates Property and the Port Road Property, respectively, shall

   constitute an obligation owing by the Mortgagors to the Mortgagee, and that all such costs,

   expenses and liabilities shall constitute a portion of the Indebtedness secured by the Mortgages.

          RESPONSE: For answer to Paragraph 41, Defendants allege that the Exhibits to

   the Complaint referred to therein are the best evidence of their own contents and, to the

   extent the allegations of Paragraph 41 of the Complaint may vary from those contents, said

   allegations are denied. Furthermore, the legal conclusions contained in Paragraph 41 need

   not be admitted nor denied but, to the extent an answer is deemed requisite, same are

   denied.
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                                         RELIEF SOUGHT

          42.     The Plaintiff seeks an Order for Executory Process, wherein a Writ of Seizure and

   Sale is issued and, thereafter, the U.S. Marshall of the Western District of Louisiana seizes and

   sells, at public auction, with benefit of appraisement, to the highest bidder for cash, the Port

   Road Property in order to pay and satisfy the Indebtedness.

          RESPONSE: Paragraph 42 of the Complaint alleges no facts capable of being

   admitted or denied but, to the extent an answer is deemed requisite, same are denied.

   Specifically, Defendants deny that executory process is available under the Federal Rules of

   Civil Procedure and, therefore, deny that Plaintiff is entitled to the relief requested in

   Paragraph 42 of the Complaint.

          43.     The Plaintiff further seeks an Order for Executory Process, wherein a Writ of

   Seizure and Sale is issued and, thereafter pursuant to the appropriate order and /or instruction,

   the U.S. Marshall of the Western District of Louisiana of the Middle District of Louisiana seizes

   and sells, at public auction, with benefit of appraisement, to the highest bidder for cash, the

   Nicholson Estates Property in order to pay and satisfy the Indebtedness.

          RESPONSE: Paragraph 43 of the Complaint alleges no facts capable of being

   admitted or denied but, to the extent an answer is deemed requisite, same are denied.

   Specifically, Defendants deny that executory process is available under the Federal Rules of

   Civil Procedure and, therefore, deny that Plaintiff is entitled to the relief requested in

   Paragraph 43 of the Complaint.

          44.     The Plaintiff reserves the right to Keepers of the Nicholson Estates Property and

   the Port Road Property pursuant to the Mortgages and La. R.S. 9:5131 through 5135 and 9:5136

   through 5140.2, with full powers of administration, including but not limited to the power to
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   collect and receive the Leases, Rents and Profits pending the sale of the Nicholson Estates

   Property and the Port Road Property in order to pay and satisfy the Indebtedness.

          RESPONSE: Paragraph 44 of the Complaint alleges no facts capable of being

   admitted or denied but, to the extent an answer is deemed requisite, same are denied.

   Specifically, Defendants deny that executory process is available under the Federal Rules of

   Civil Procedure and, therefore, deny that Plaintiff is entitled to the relief requested in

   Paragraph 44 of the Complaint.

          45.    The Plaintiff reserves the right to collect any deficiency against the Borrowers and

   any co-maker or guarantor of the Note should the proceeds of any judicial sale be insufficient to

   satisfy the amounts due and owing under the Note in full.

          RESPONSE: Paragraph 45 of the Complaint alleges no facts capable of being

   admitted or denied but, to the extent an answer is deemed requisite, same are denied.

   Specifically, Defendants deny that deficiency against Defendants is available to Plaintiff

   and deny that the executory process is available under the Federal Rules of Civil Procedure

   and, therefore, deny that Plaintiff is entitled to the relief requested in Paragraph 45 of the

   Complaint.

          46.    The Plaintiff reserves the right to collect, enforce, or exercise any of its rights and

   remedies under the remaining collateral as security for the Loan Documents.

          RESPONSE: Paragraph 46 of the Complaint alleges no facts capable of being

   admitted or denied but, to the extent an answer is deemed requisite, same are denied.

   Defendants deny that deficiency against them is available to Plaintiff and deny that the

   executory process is available under the Federal Rules of Civil Procedure and, therefore,

   deny that Plaintiff is entitled to the relief requested in Paragraph 46 of the Complaint.
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          WHEREFORE, Goldman Sachs Bank USA, prays for the issuance of an Order of

   Executory Process, and that a writ of seizure and sale be issued directing the U.S. Marshall for

   the Western District of Louisiana to, after all due advertisements, delays, requisites and other

   formalities, sell at public auction, with benefit of appraisement, to the highest bidder for cash the

   above-described Port Road Property to pay and satisfy the Plaintiff's claim, in preference and

   priority to all others, in the following amounts:

                a) Principal in the amount of $47,401,003.16;

                b) Interest, accrued on the principal amount due and owing, in the amount of
                   $11,464,099.79;

                c) After June 15, 2015, interest will continue to accrue on the principal balance
                   due, as described in the Loan Documents, until paid;

                d) Reasonable attorneys' fees for collecting the amounts due and owing under the
                   Loan Documents;

                e) All costs of these proceedings and for any additional sums authorized 1*.the
                   Note and the Mortgages that may become due to the Plaintiff until the U.S.
                   Marshall's sale.

          Goldman Sachs Bank USA, further prays for the issuance of an Order of Executory

   Process, and that a writ of seizure and sale, and any other applicable order and/or instruction, be

   issued directing the U.S. Marshall for the Middle District of Louisiana to, after all due

   advertisements, delays, requisites and other formalities, sell at public auction, with benefit of

   appraisement, to the highest bidder for cash the above-described Nicholson Estates Property to

   pay and satisfy the Plaintiff's claim, in preference and priority to all others, in the following

   amounts:

                a) Principal in the amount of $47,401,003.16;

                b) Interest, accrued on the principal amount due and owing, in the amount, of
                   $11,464,099.79;

                c) After June 15, 2015, interest will continue to accrue on the principal balance
                   due, as described in the Loan Documents, until paid;
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                 d) Reasonable attorneys' fees for collecting the amounts due and owing under the
                    Note, and the Mortgages;

                 e) All costs of these proceedings and for any additional sums authorized by the
                    Note and the Mortgages that may become due to the Plaintiff until the U.S.
                    Marshall's sale.

           Goldman Sachs Bank USA, further prays that it be permitted to bid the aforesaid amounts

   as a credit bid at the U.S. Marshall’s sales of the Nicholson Estates Property and the Port Road

   Property and that out of the proceeds of the sales, Plaintiff be paid the amount of its claim by

   preference and priority over all other persons.

           Goldman Sachs Bank USA, further prays for a reservation of its rights, among other

   things, to (a) to exercise any other remedies provided for in the Mortgages or other Loan

   Documents related to the Note or Loan Agreement, and (b) collect any deficiency against the

   Borrowers and any co-maker or guarantors of the Loan Documents should the proceeds of any

   judicial sale be insufficient to satisfy the Plaintiff's claim in full.

           Goldman Sachs Bank USA, further prays for a reservation of its rights, among other

   things, to appoint Keepers for the Nicholson Estates Property and the Port Road Property

   pursuant to the Mortgages and La. R.S. 9:5131 through 5135 and 9:5136 through 5140,2,

   with full powers of administration, including but not limited to the power to collect and

   receive the Leases, Rents and Profits (as defined in Exhibits 5 and 10), pending the sale of

   the Nicholson Estates Property and the Port Road Property in order to pay and satisfy the

   amounts due and owing under the Loan Documents.

           Finally, Goldman Sachs Bank USA, prays for all orders and decrees necessary in

   this matter and for any other general or equitable relief to which it may be entitled.

           RESPONSE: Defendants deny that Plaintiff is entitled to any such relief, and would

   ask that the Court enter judgment in favor of Defendants.
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                        COUNTERCLAIMS FOR DECLARATORY RELIEF

          Now as Plaintiffs in Counterclaim, Michel and Tiffany Moreno (“Moreno”) respectfully

   allege as follows:

          1.      Made Defendant in these counterclaims is Goldman Sachs Bank USA

   (“Goldman”) which alleges that it is a New York state-chartered bank with its principal place of

   business in New York.

          2.      Michel B. Moreno (“Mr. Moreno”), is over the age of majority and residing in

   Dallas County, Texas, and is therefore considered a resident of the State of Texas.

          3.      Tiffany C. Moreno (“Ms. Moreno”), is over the age of majority and residing in

   Dallas County, Texas, and is therefore considered a resident of the State of Texas.

                                             JURISDICTION

          4.      This Court has subject-matter jurisdiction over this matter pursuant to 28 U.S.C.

   § 1332 because there is complete diversity of citizenship between the Plaintiff and Defendants,

   and because the amount in controversy exceeds $75,000, excluding interest and costs.

                                                  VENUE

          5.      Venue is proper in this district pursuant to 28 U.S.C. §1391(b)(2) because a

   substantial part of the immovable property at issue in this matter is in this district.

                                     FACTS AND ALLEGATIONS

          6.      The following is a brief procedural background of this long-standing proceeding

   and related concurrent proceedings involving the same parties:

          a) On July 8, 2015, Goldman filed its Verified Complaint to Foreclose by Executory
             Process, with Benefit of Appraisal [Doc. 1] (“Complaint”) naming as defendants:
             Michael B. Moreno; Tiffany C. Moreno; Moreno Properties Two, LLC
             (“Properties”); Nicholson Estates, L.L.C. (“Nicholson”); MBM 2011 DOH Grantor
             Retained Annuity Trust, TCM 2011 DOH Grantor Retained Annuity Trust, MBM
             2011 MGH Grantor Retained Annuity Trust, TCM 2011 MGH Grantor Retained
             Annuity Trust (collectively the “Trusts”), demanding, inter alia, payment under a
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              promissory note and related loan documents, foreclosure on Properties’ immoveable
              property, and payment of any deficiency.

         b) On July 22, 2015, Properties, along with Nicholson, filed their Affirmative Defenses,
            Answer, and Counterclaims for Declaratory Relief [Doc. 4] (“Answer and
            Counterclaims”) in which Properties and Nicholson specifically pled that they were
            entitled to arbitration.

         c) On July 30, 2015, the Court issued its Ruling [Doc. 7] that executory process under
            Louisiana procedural laws could not be maintained under the Federal Rules of Civil
            Procedure and that Goldman would have to file an ordinary proceeding if it wished to
            go forward in federal court.

         d) On September 18, 2015, Properties and Nicholson filed their Motion to Compel
            Arbitration and Stay Proceedings Pending Arbitration [Doc. 32] (“Motion to
            Compel”).

         e) Goldman moved for reconsideration of the July 30, 2015 Ruling and on September
            15, 2015, the Court reconsidered its prior Ruling and issued a Ruling [Doc. 28] (the
            “Second Ruling”) holding that the executory proceeding could be maintained in a
            federal court.

         f)    On October 9, 2015, Goldman filed its Memorandum in Opposition to Motion to
              Compel Arbitration and Stay Proceedings Pending Arbitration [Doc. 40]
              (“Opposition”).

         g) On April 21, 2016, Goldman then filed an Arbitration Demand, attached hereto as
            Exhibit 1, with the American Arbitration Association (“AAA”), Case No. 01-16-
            0001-4156 in Dallas, Texas (the “Arbitration Proceeding”) naming Michel B.
            Moreno and Tiffany C. Moreno (the “Morenos”) as respondents.

         h) Also on April 21, 2016, Goldman filed its Petition, attached hereto as Exhibit 2, in
            the 44th Judicial District Court of Dallas County, Texas, No. DC-16 – 04595 (the
            “Dallas Lawsuit”) naming the Morenos as defendants.

         i) In the Dallas Lawsuit, on May 2, 2016, Goldman and the Morenos agreed to a
            temporary injunction from proceeding with the Arbitration Proceeding. Properties
            was not a party to the Dallas lawsuit.

         j) On May 24, 2016, the Court issued its Memorandum Ruling [Doc. 57], denying
            Properties’ demand for arbitration, finding “arbitration of this matter is not required.”

         k) On July 6, 2016, Goldman, Properties, the Morenos, Nicholson, and others executed a
            Workout Memorandum of Understanding (“MOU”), attached hereto as Exhibit 3,
            which, inter alia, included a $15,000,000 credit minimum if Properties did not further
            oppose the foreclosure on its property.
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              l) On September 14, 2016, pursuant to an order of this Court, the U.S. Marshal
                 conducted the foreclosure sale by auction of Properties’ property on Port Road in
                 Iberia Parish, Louisiana.

              m) On February 1, 2017, the U.S. Marshal conducted the foreclosure sale by auction of
                 the Nicholson Estates Property in Baton Rouge, Louisiana.

              n) On March 20, 2017, Goldman filed an Amended Demand for Arbitration, attached
                 hereto as Exhibit 4, in which it added Properties and specified trusts as respondents
                 in the Arbitration Proceeding. As part of the arbitration, Goldman now seeks to
                 recover a deficiency as to Properties and the Morenos.

   The Relevant Loan Documents.

              7.      In its Complaint of July 8, 2015, Goldman claimed that it was the holder and

   owner of a Consolidated, Amended and Restated Note (the “Note”) [Doc. 1-3, Ex. 1], dated

   October 11, 2013 and that Properties and the other makers of the Note, the Morenos and the

   Trusts 2, were in payment default.

              8.      In its Complaint, Goldman also alleged it was entitled to enforce the terms of an

   Amended and Restated Loan Agreement dated October 11, 2013 (the “Consolidated Loan

   Agreement”) [Doc. 1-4, Ex. 2], amended and modified pursuant to that First Amendment to

   Amended and Restated Loan Agreement dated June 30, 2014 (the “2014 Loan Amendment”)

   [Doc. 1-5, Ex. 3]; and that the Note, the Consolidated Loan Agreement, and the 2014 Loan

   Amendment were secured by, inter alia, immoveable property of Properties located on Port

   Road in Iberia Parish, Louisiana as evidenced by a Multiple Indebtedness Mortgage, Collateral

   Assignment of Leases and Rents, and Security Agreement dated September 10, 2010 (“MIM”)

   [Doc. 1-10, Ex. 7] in favor of Regions Bank, subsequently assigned to Goldman and then

   modified pursuant to a Mortgage Modification to Multiple Indebtedness Mortgage, Collateral




   2
       Terms not otherwise defined have the same meaning as used in Goldman’s Complaint.
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   Assignment of Leases and Rents, and Security Agreement (“Modification”) [Doc. 1-12, Parts 1

   and 2] executed October 11, 2013.

          9.        Goldman prayed for the issuance of an Order of Executory Process and the

   issuance of a writ of seizure and sale directing the U.S. Marshall for the Western District of

   Louisiana to sell at public auction, with benefit of appraisement, the Port Road Property.

          10.       Goldman prayed for the issuance of an Order of Executory Process and the

   issuance of a writ of seizure and sale directing the U.S. Marshall for the Western District of

   Louisiana to sell at public auction, with benefit of appraisement, the Nicholson Estates Property.

          11.       In paragraph 45 of the Complaint, Goldman stated that it “reserves its right to

   collect any deficiency against the Borrowers and any co-maker or guarantor of the Note should

   the proceeds of any judicial sale be insufficient to satisfy the amounts due and owing under the

   Note in full.”

          12.       The Consolidated Loan Agreement contains an arbitration clause. Subsection (a)

   of the arbitration clause read as follows:

          8.9 Binding Arbitration

                (a)  THE PARTIES HERETO HEREBY WAIVE ALL RIGHTS TO A
          COURT TRIAL OR TRIAL BY JURY WITH RESPECT TO ANY DISPUTE,
          CONTROVERSY OR CLAIM UNDER THIS AGREEMENT AND THE
          BORROWERS AGREE TO SETTLE BY ARBITRATION ANY CONTROVERSY
          BETWEEN THE BORROWERS AND THE LENDER AND ITS AFFILIATES
          ARISING OUT OF OR RELATING TO THIS AGREEMENT. THE ARBITRATION
          WILL BE CONDUCTED IN ACCORDANCE WITH THE RULES THEN IN EFFECT
          OF THE AMERICAN ARBITRATION ASSOCIATION. ANY DISPUTE OR CLAIM
          INVOLVING A DOLLAR AMOUNT OF $50,000 OR LESS WILL BE BEFORE ONE
          ARBITRATOR, AND ALL OTHER DISPUTES AND CLAIMS WILL BE BEFORE A
          PANEL OF AT LEAST THREE ARBITRATORS. THE AWARD OF THE
          ARBITRATOR OR A MAJORITY OF THE ARBITRATORS, AS THE CASE MAY
          BE THE FINAL, AND JUDGMENT UPON THE AWARD MAY BE ENTERED IN
          ANY COURT HAVING JURISDICTION.

   Additionally, Exhibit A, Modified Mortgage Terms to the Modification [Doc. 1-12, Ex.

   9, pt. 1] contains an arbitration clause that reads as follows:
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           7.16 Binding Arbitration. Mortgagor agrees to settle all claims relating to this
           Mortgage by arbitration and agrees to be bound by the terms of the Section 8.9 of
           the [Consolidated] Loan Agreement which is hereby incorporated by reference.

           13.     The same language is contained in Sections 7.16 of both the Second Lien

   Mortgage, Assignment of Rents and Leases, Collateral Assignment of Property Agreements,

   Material Agreements and Security Agreement [Doc. 16, Ex. 12] and the Third Lien Mortgage,

   Assignment of Rents and Leases, Collateral Assignment of Property Agreements, Material

   Agreements and Security Agreement [Doc. 19, Ex. 14].

           14.     On July 22, 2015, Properties and Nicholson, filed their Answer and

   Counterclaims.

           15.     In their Answer and Counterclaims, Properties and Nicholson specifically pled

   that they were entitled to arbitration of the claims brought by Goldman:

                                    THIRD AFFIRMATIVE DEFENSE

           3.      Mandatory Arbitration. The Loan Agreement, Promissory Note, Acts of
           Mortgage, and other documents attached as Exhibits to the Complaint evidence
           that the parties have stipulated to mandatory arbitration with respect to any
           dispute, controversy, or claim. See, e.g., Section 8.9 of Loan agreement attached
           as Exhibit 2 to the Complaint, sixth paragraph of the Promissory Note attached as
           Exhibit 1 to the Complaint, Section 7.16 of Act of Mortgage attached to the
           Complaint as Exhibit 4, Section 7.16 of Iberia Mortgage attached to the
           Complaint as Exhibit 9, Section 7.16 of Port Road Second Mortgage attached to
           the Complaint as Exhibit 12, and Section 7.16 of the Third Lien Mortgage
           attached to the Complaint as Exhibit 14.

           16.     On September 18, 2015, Properties and Nicholson filed their Motion to Compel,

   again specifically pleading, at p. 7, that they were entitled to arbitration:

           The Loan Agreement and the Mortgages specifically provide that all disputes of
           Plaintiff and Defendants arising under the Loan Agreement or the Mortgages be
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             resolved by arbitration. Parties who agree to arbitration have validly selected an
             alternative forum, other than a court, to resolve their claims.
             17.      In the Motion to Compel, Properties and Nicholson again references the specific

   provisions of Section 8.9 of the Loan Agreement and Section 7.16 of the Modification, both of

   which provide for mandatory arbitration before the AAA. Properties also cited the applicable

   case law holding that arbitration is preferred and enforceable.

             18.      Also in the Motion to Compel, at p. 13, Properties and Nicholson requested “. . .

   the entry of an order staying all proceedings herein pending resolution of the claims through

   arbitration.”

             19.      On October 9, 2015, Goldman filed its Opposition. In the opposition, at 9,

   Goldman stated:

                   With these principles in mind, the Arbitration Clause does not apply to the
             facts before the Court because it must be read in tandem with the other
             provisions of the Loan Documents. In particular, the Loan Documents, when read
             together, trigger a separate procedural mechanism whereby, after an Event of
             Default, Goldman Sachs may elect its remedies, including exercising its judicial
             remedies in an executory proceeding. The Arbitration Clause, however, does
             not apply after an Event of Default. (All emphasis supplied.)

             20.      Thereafter, on May 24, 2016, the Court issued its Memorandum Ruling, denying

   Properties demand for arbitration. The Court found, beginning at p. 11 of the Memorandum

   Ruling:

             Further, the Court finds under the principles of contract interpretation, arbitration of
             this matter is not required. (Emphasis supplied.)

   The Court continued, at 11:

             While the loan agreement states the parties agree to settle by arbitration "any
             dispute, controversy or claim under this agreement," it additionally states, "upon
             occurrence and during the continuance of an Event of Default," Goldman Sachs
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          may proceed to "protect and enforce [its] rights by suit in equity, action of law
          and/or other appropriate proceeding either for specific performance of any
          covenant or condition contained in this Agreement, [or] any other Loan
          Document." This language is broad enough to encompass a proceeding for
          executory process. It is well-settled in the interpretation of contracts, the specific
          controls the general, and therefore the enforcement provisions identified as
          available after an event of default control in this matter.' Thus, after an event of
          default, under this contractual language, Goldman Sachs is not limited to an
          arbitration suit; rather, it may proceed by filing a suit in equity, an action of law,
          or any "other appropriate proceeding" to enforce the agreement.

          21.     On the basis of the Court’s ruling, Goldman elected to proceed with the litigation,

   rather than arbitrate its claims under the Note and MIM, and went forward with the seizure and

   sale of Properties’ immoveable property on Port Road.

          22.     On September 15, 2015, the U.S. District Court entered an order directing the

   U.S. Marshal’s Service to seize and sell both the Port Road Property and the Nicholson Estates

   Property in partial satisfaction of the amounts due and owing to Goldman Sachs under the Loan,

   in accordance with the Louisiana Mortgages and executory process laws of the State of

   Louisiana (the “Seizure and Sale Order”).

          23.     On September 14, 2016 the U.S. Marshal conducted an auction sale of the Port

   Road Property with appraisement (the “Marshal’s Sale”), at which sale Goldman bid

   $8,406,666.67, being two-thirds (2/3) of the $12,610,000.00 agreed appraised value of the Port

   Road property and the highest bid for the property.

          24.     Following the foreclosure on the Port Road Property, Goldman Sachs took no

   further steps in this Court to move for entry of a deficiency judgment against the Morenos.

          25.     While this matter was pending, including the pendency of the seizure and sale

   under executory process and six (6) months prior to the Marshal’s Sale of the Port Road

   Property, on April 21, 2016, Goldman filed its Arbitration Demand with the AAA in Dallas,

   naming the Morenos as respondents.
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          26.     Both of the Morenos had been named as defendants nine (9) months earlier in the

   Complaint filed in this matter on July 8, 2015. However, the Morenos were never served with the

   Complaint.

          27.     Although:

          (a)     The matters made subject to the Arbitration Proceeding by Goldman included: (i)
          the Note (¶ 10 of the Arbitration Demand) and (ii) the Consolidated Loan Agreement (¶
          11 of the Arbitration);
          (b)     Properties and the Trusts appear as co-borrowers under the Note;
          (c)     The Trusts executed the Consolidated Loan Agreement;
          (d)     The MIM and Modification show the Port Road property as security for the loan
          evidenced by the Note; and,
          (e)     Properties and the Trusts were named as defendants in the Complaint filed in this
          matter,

   Goldman did not include either Properties or the Trusts as original respondents in the Arbitration

   Proceeding.

          28.     In the Arbitration Demand, Goldman alleged, inter alia, default under the Note

   and breach of loan documents, including the Consolidated Loan Agreement. The demands for

   relief included payment of principal and interest alleged to be due under the Note:

          57. Goldman Sachs is the legal holder of the Note, which the Respondents
          knowingly and willingly executed.

          58. An outstanding balance is due and owing on the Note in the amounts set forth
          above. Interest continues to accrue on that balance at the Default Rate.

          29.     The Arbitration Demand was based upon the terms of the Consolidated Loan

   Agreement, as Goldman alleged in the Arbitration Demand at paragraphs 31 and 32 thereof, as

   follows:

          31. The Consolidated Loan Agreement contains a binding arbitration provision.
          See Exh. D § 8.9(a), which states as follows:

          THE PARTIES HERETO HEREBY WAIVE ALL RIGHTS TO A COURT
          TRIAL OR TRIAL BY JURY WITH RESPECT TO ANY DISPUTE,
          CONTROVERSY OR CLAIM UNDER THIS AGREEMENT AND THE
          BORROWERS AGREE TO SETTLE BY ARBITRATION ANY
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          CONTROVERSY BETWEEN THE BORROWERS AND THE LENDER OR
          ITS AFFILIATES ARISING OUT OF OR RELATING TO THIS
          AGREEMENT. THE ARBITRATION WILL BE CONDUCTED IN
          ACCORDANCE WITH THE RULES THEN IN EFFECT OF THE AMERICAN
          ARBITRATION ASSOCIATION. ANY DISPUTE OR CLAIM INVOLVING A
          DOLLAR AMOUNT OF $50,000 OR LESS WILL BE BEFORE ONE
          ARBITRATOR, AND ALL OTHER DISPUTES AND CLAIMS WILL BE
          BEFORE A PANEL OF AT LEAST THREE ARBITRATORS. THE AWARD
          OF THE ARBITRATOR OR A MAJORITY OF THE ARBITRATORS, AS THE
          CASE MAY BE, WILL BE FINAL, AND JUDGMENT UPON THE AWARD
          RENDERED MAY BE ENTERED IN ANY COURT HAVING
          JURISDICTION.

          32. Pursuant to this provision, Goldman Sachs files this arbitration on April 21, 2016
          before the AAA. That Arbitration remains pending as of the present time[.]

   Goldman’s Dallas County Lawsuit, Including Arbitration Demand.

          30.     Also on April 21, 2016, Goldman filed a lawsuit in Texas State District Court in

   Dallas County naming the Morenos as defendants and seeking, inter alia, payment of principal

   and interest under the Note, injunctive relief as to the Morenos regarding their Dallas residence,

   attachment of their Dallas residence, and arbitration. Exhibit 2 hereto.

          31.     In its Petition filed in the Dallas Lawsuit, Goldman claimed that Michael B.

   Moreno and Tiffany C. Moreno were in default under the Note. The Note was specifically

   referenced in the Petition:

          23. On October 11, 2013, Goldman Sachs, Defendants, and five additional
          entities3 (the “Other Borrowers”) executed a Consolidated, Amended and
          Restated Note in favor of Goldman Sachs (the “Note”) in the original amount of
          $52,370,000.00 (the “Principal Balance”).

   The five additional “Other Borrowers” named in footnote 3 are: “MBM-DOH Trust, MBM-

   MGH Trust, TCM-MGH Trust, TCM-DOH Trust, and Moreno Properties Two, L.L.C.”

          32.     At Paragraph 24 of the Petition, Goldman referenced the Consolidated Loan

   Agreement:

          24. The Note provides that it is issued pursuant to, and is entitled to the benefits
          of, an Amended and Restated Loan Agreement, dated October 11, 2013 (the
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          “Consolidated Loan Agreement”), which consolidated, amended, and restated
          certain previous loan agreements between Goldman Sachs, the Defendants, and
          the Other Borrowers, including the May 15 Loan Agreement and the July 5 Loan
          Agreement.

          33.     In the Petition, Goldman again demanded arbitration pursuant to the terms of the

   Consolidated Loan Agreement. Ex. 2 at ¶ 44.

   Goldman’s Amended Arbitration Demand.

          34.     On March 20, 2017, six (6) months after the Marshal’s Sale, Goldman filed its

   Amended Demand for Arbitration in which it named Properties and the Trusts as additional

   respondents.

          35.     Properties filed an opposition with the AAA opposing the addition of Properties.

          36.     In addition to re-alleging defaults under the terms of the Note, the Consolidated

   Agreement, and Other Loan Documents regarding the Morenos, Goldman added allegations

   regarding the Trusts, Properties, and Nicholson, including the Port Road Property that had been

   previously sold at the September 14, 2016 Marshal’s Sale. See Ex. 4 at ¶¶ 23-24.

          37.     The Amended Demand for Arbitration also incorporates claims relating to the

   Port Road Property foreclosure, purportedly by executory process in this proceeding, as follows:

          G. The Louisiana Foreclosure Litigation

          41. On July 8, 2015, Goldman Sachs commenced an ex parte, in rem proceeding
          by filing its Verified Complaint for Executory Process with the Benefit of
          Appraisal (the “Louisiana Foreclosure”) in the U.S. District Court for the
          Western District of Louisiana (the U.S. District Court”)5 to foreclose on both
          the Port Road Property and the Nicholson Estates Property.

          42. On September 15, 2015, the U.S. District Court entered an order directing the
          U.S. Marshal’s Service to seize and sell both the Port Road Property and the
          Nicholson Estates Property in partial satisfaction of the amounts due and owing to
          Goldman Sachs under the Loan, in accordance with the Louisiana Mortgages and
          executory process laws of the State of Louisiana (the “Seizure and Sale Order”).

          43. Pursuant to the Seizure and Sale Order, the Port Road Property and the
          Nicholson Estates Property were seized, and, after due advertisements, delays and
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          requisite formalities, offered for sale at judicial sale, with the benefit of appraisal,
          to the highest bidder.

          44. On September 14, 2016, Goldman Sachs was the highest bidder on the Port
          Road Property at the judicial sale conducted by the U.S. Marshal for the U.S.
          District Court for the Western District of Louisiana. Goldman Sachs bid
          $8,406,666.67, an amount that equals or exceeds two-thirds of the appraised value
          of the Port Road Property, pursuant to Louisiana law.

          …

          47. The foreclosure sale bids have been credited and as of February 21, 2017, and the
          amounts described in ¶ 28 above remain due and owing. Accordingly, Goldman Sachs is
          entitled to a deficiency judgment for that amount. (Emphasis supplied.)

   Exhibit 4 at ¶¶ 41-44, 47.

          38.     Thus, in addition to pleading for a deficiency in the proceeding before this Court,

   Goldman is also seeking damages related to an alleged deficiency in the Arbitration Proceeding.

   Deficiency Sought in this Litigation and the Arbitration Proceeding.

          39.     As it stated in Paragraph 45 of the Complaint filed by Goldman in this matter,

   Goldman is seeking to collect through this litigation on an alleged deficiency claim subsequent to

   the Marshal’s Sale of Properties’ property on Port Road.

          40.     With this matter pending, as stated in Paragraph 47 of the Amended Demand for

   Arbitration, Goldman is also seeking to collect pursuant to the Arbitration Proceeding on the

   same alleged deficiency claim subsequent to the foreclosure proceeding and Marshal’s Sale of

   Properties’ property on Port Road.

   Memorandum of Understanding and $15,000,000 Credit.

          41.     Effective July 6, 2016, approximately one year after Goldman filed the Complaint

   in this matter, Properties, together with the Morenos, Nicholson, the Trusts, and Powermeister

   LP (which held a second mortgage on the Port Road property) executed the MOU with regard to

   the property of Properties and Nicholson which were collateral for the loans. Exhibit 3.
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           42.     The terms of the MOU included provisions for forbearance from foreclosure upon

   the Port Road property, terms for a reduced loan payment by Properties and/or restructuring of

   the loans.

           43.     Particularly, Section 2 of the MOU provided that Goldman would continue the

   foreclosure on the Port Road Property (pending before this Court) and that Goldman would

   provide a $15,000,000 credit minimum upon conclusion of the foreclosure of the Port Road

   property provided that Properties and the other parties to the agreement did not interfere with or

   attempt to stop the foreclosure sale.

           44.     At Section 8, the MOU provides that it shall be governed by New York law and

   may be enforced in the state and federal courts in Dallas County, Texas. The MOU did not have

   an arbitration provision.

           45.     Properties complied with the terms of the MOU and did not interfere with or

   make any further attempts to stop the foreclosure sale.

           46.     The Morenos assisted Goldman in obtaining the cancellation of the recording

   lease in favor of the third-party, Dynamic Industries, Inc., in order to clear title as to the Port

   Road Property and facilitate the foreclosure sale which occurred on September 14, 2016.

           47.     Therefore, the Morenos are entitled to the $15,000,000 credit.

   The Nicholson Estates Property Foreclosure.

           48.     A Notice of Sale and Appointment of Appraisers related to the Nicholson Estates

   Property (“Notice”) was received by Moreno’s counsel on January 10, 2017.

           49.     The Notice directed the parties to name an appraiser to value the Nicholson

   Estates Property and notify the Marshal’s office at least twenty (20) days, exclusive of holidays,

   prior to the time of sale.
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          50.     The Notice also directed that appraisals were to be delivered no later than

   fourteen (14) days (exclusive of holidays) prior to the scheduled sale.

          51.     Nicholson Estates submitted an appraisal on or before the deadline specified in

   the Notice.

          52.     On information and belief, Goldman also submitted an appraisal.

          53.     The appraisers were unable to confer in order to agree on a value.

          54.     On information and belief, the Goldman appraisal did not appraise the seized

   property with such minuteness that it could be sold together or separately.

          55.     The Foreclosure sale was set for Feb. 1, 2017.

          56.     The Foreclosure occurred on Feb. 1, 2017.

          57.     During the sale, there was no opportunity for any bidder to bid on any individual

   lot.

          58.     Only two sale offerings were made; one for a group of 31 properties for an

   opening bid of $13,770,733 and then in globo for all 51 properties with an opening bid of

   $20,275,333. On information and belief, this amount is 2/3 of the appraised value of the property

   in the appraisal submitted by Goldman.

          59.     Goldman bid “$20 million whatever” at the February 1, 2017 sale.

          60.     There were no other bids made at the Nicholson Estates Property foreclosure sale.

          61.     Following the February 1, 2017 foreclosure sale, Goldman Sachs did not move

   this court for an entry of a deficiency judgment.

          62.     On information and belief, the Nicholson Estates Property foreclosure sale has

   been consummated by the delivery of the proper deed of conveyance to the purchaser.
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          63.     On information and belief, such delivery occurred more than ninety (90) days

   prior to the filing of this Counterclaim.

          64.     Although purportedly conducting an executory process by foreclosing on the

   Nicholson Estates Property, Goldman Sachs took no further steps in this Court to seek entry of a

   judgment for deficiency against the Morenos as would ordinarily be done at the end of an

   executory process.

   Choice of Law – New York Law and Limitations on Deficiency.

          65.     While the mortgages provide for the application of Louisiana law is to the

   mortgage documents, the Note, the Consolidated Loan Agreement, the 2014 Loan Amendment,

   and the Modification all provide that all rights and obligations shall be governed by the laws of

   the state of New York (without giving effect to principles of conflicts or choice of laws). More

   particularly, the Note provides as follows:

          All rights and obligations hereunder shall be governed by the laws of the state of
          New York . . .

          66.     The MIM provides, at Section 5.11, that the mortgage and all matters relating or

   pertaining to the mortgage shall be governed by and construed in accordance with the laws of the

   state of Louisiana without regard to conflict rules. Exhibit B to the Modification provided that

   the Louisiana remedies were “In addition to and not in lieu or limitation” of other remedies in the

   MIM.

          67.     The Modification provides:

          8. Governing Law. THE PROVISIONS OF THIS AGREEMENT REGARDING THE
          CREATION, PROTECTION AND ENFORCEMENT OF THE LIENS AND
          SECURITY INTERESTS HEREIN GRANTED SHALL BE GOVERNED AND
          CONSTRUED UNDER THE LAWS OF THE STATE IN WHICH THE MORTGAGE
          PROPERTY IS LOCATED. ALL OF THE PROVISIONS OF THIS SUPPLEMENT
          AND THE RIGHTS AND OBLIGATIONS OF THE MORTGAGOR AND
          LENDER SHALL BE GOVERNED BY, AND SHALL BE CONSTRUED AND
          ENFORCED IN ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW
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          YORK, WITHOUT REGARD TO THE CONFLICT OF LAWS PRINCIPLES
          THEREOF. (Bold type emphasis added.)

          68.     New York law is thus applicable to any claims for deficiencies and under New

   York law.

          69.     Considering the facts and circumstances of this case and the application of New

   York law, no deficiency is due by the Morenos under the Note or any other loan document.

          70.     The Morenos respectfully reserve the right to further supplement their

   counterclaims and other defenses regarding deficiency and limitations on deficiencies under New

   York law.

                                         COUNTERCLAIMS

                                             COUNT ONE
                                         (For Injunctive Relief)

          71.     The Morenos incorporate by reference, as if fully rewritten herein, all of the

   preceding paragraphs of this Counterclaim.

          72.     Immediate and speedy relief is necessary to preserve the Morenos’ rights and

   prevent irreparable harm to the Morenos by having to defend proceedings (this litigation and the

   Arbitration Proceeding) in two states and, as a result of the foreclosure and other issues, will also

   be compelled to actively participate in the Dallas Lawsuit.

          73.     The claim pursued by Goldman in the Arbitration Proceeding assumes and is

   based on the assumption that Goldman has or is entitled to a deficiency judgment following the

   foreclosures and related deficiency issues arising under the Note and Loan Documents in

   multiple jurisdictions and inconsistent with the pendency of this lawsuit.

          74.     Even if the Morenos agreed that the AAA panel could adjudicate the deficiency

   issues, which they do not agree to, the AAA panel has indicated it will not hear or decide matters

   regarding the foreclosure process.
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          75.    A determination of the deficiency issues and whether Goldman is entitled to a

   deficiency judgment is integral to a determination of whether Goldman Sachs may recover on its

   claims that are based on an alleged deficiency against the Morenos.

                                           COUNT TWO
                                      (For Declaratory Relief)

          76.    The Morenos incorporate by reference, as if fully rewritten herein, all of the

   preceding paragraphs of this Counterclaim.

          77.    As required by 28 U.S.C. §§ 2201 and 2202, an actual and justiciable controversy

   presently exists between the Morenos and Goldman Sachs regarding each parties’ rights and

   responsibilities under the Note, the Consolidated Loan Agreement, the 2014 Loan Amendment,

   the MIM, the Modification, and other related loan documents.

          78.    An actual and justiciable controversy also presently exists between the Morenos

   and Goldman Sachs as to whether Goldman Sachs has any right to recover any deficiency.

          79.    The Morenos are entitled to have this Court determine all questions of their rights

   and obligations under the Note, the Consolidated Loan Agreement, the 2014 Loan Amendment,

   the MIM, the Modification, and other related loan documents.

          80.    The Morenos are entitled to a declaratory judgment that no deficiency is due

   under the Note and related documents.

          81.    The Morenos are entitled to a declaratory judgment that Goldman Sachs has no

   right to recover any deficiency in any action pursuant to NY RPA Law 1371 Deficiency

   Judgment (Laws of New York (2016 Edition)) and other applicable law.

          82.    Alternatively, the Morenos are entitled to a determination of any balance due,

   including any balance due after application of the $15,000,000 credit minimum on the Port Road
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   Property and a credit of not less than fair market value or approximately $30 million on the

   Nicholson Estates Property.

            83.   The Morenos are entitled to a declaratory judgment that Goldman is not entitled

   to arbitrate any claims against the Morenos with regard to any deficiency under the Note and

   Loan Documents and that any proceedings relating to the Note can only be brought before this

   Court.

                                            COUNT THREE
                                             (Lis Pendens)

            84.   The Morenos incorporate by reference, as if fully rewritten herein, all of the

   preceding paragraphs of this Counterclaim.

            85.   For the foregoing reasons, including the pendency of this litigation which was

   commenced prior to the Arbitration Proceeding, the doctrine of lis pendens is applicable.

            86.   Particularly, lis pendens is applicable as Goldman seeks to recover an alleged

   deficiency against Properties in both this litigation and in the Arbitration Proceeding.

            87.   In this litigation, after the sale of the property, under La. Civil Code Article 2772,

   the next step in obtaining a deficiency would be for Goldman to convert this proceeding to an

   ordinary proceeding.

            88.   Alternatively, Goldman could commence a separate suit that would be

   consolidated with this proceeding.

            89.   With this lawsuit pending and the ability of Goldman to continue with this

   litigation and obtain a deficiency judgment, Goldman should not be permitted to continue with

   the Arbitration Proceeding in which it also seeks a deficiency.

            90.   As Goldman initially elected to litigate against Properties in this Court and this

   case is still pending, the doctrine of lis pendens is applicable and the arbitration proceeding
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   should be stayed pursuant to both Louisiana law and under New York CVP Law 7503(a),

   Application to compel or stay arbitration; stay of action; notice of intention to arbitrate.

   Otherwise, Goldman could go forward in both forums, then select the highest award between the

   two forums, a clearly unjust and inequitable result.

          WHEREFORE, Moreno requests that this Court enter judgment in their favor against

   Goldman Sachs Bank USA as follows:

          (1)     An order enjoining Goldman from proceeding with the Arbitration Proceeding

          and from initiating any additional proceedings against Moreno in any forum other than

          this Court seeking payment of any amounts claimed due under the Note for any of the

          Loan Documents;

          (2)     An order declaring that Goldman is not entitled to any deficiency against Michel

          or Tiffany Moreno or any other borrower;

          (3)     An order declaring that Goldman is not entitled to arbitrate any claims against

          Moreno with regard to the Note and Loan Documents and that first any proceedings

          relating to the Note must be brought before this Court;

          (4)     Any other order or relief that this Court deems appropriate including, but not

          limited to, reasonable attorney’s fees and costs related to this litigation, and for such other

          and further relief to which Tiffany and Michel Moreno may be entitled.
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   Dated: January 31, 2018            Respectfully submitted by:


                                      /s/ Richard J. Hymel
                                      Richard J. Hymel
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                                      And

                                      Jeffrey R. Fine (pro hac vice application will be
                                      submitted)
                                      Texas State Bar No. 07008410
                                      Alison R. Ashmore (pro hac vice application will
                                      be submitted)
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                                      Counsel for Tiffany and Michel Moreno
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                                  CERTIFICATE OF SERVICE
           I HEREBY CERTIFY that a copy of the foregoing MICHEL AND TIFFANY MORENO’S
   INITIAL APPEARANCE, ANSWER, AND COUNTERCLAIM has been served upon Plaintiff,
   Goldman Sachs Bank USA, through its attorneys of record via the Court’s CM/ECF by
   electronic (email) transmission to:

                 Patrick Vance, pvance@joneswalker.com;
                 Laura F. Ashley, lashley@joneswalker.com; and,
                 Carmen M. Rodriguez, carmenrodriguez@joneswalker.com.

   And upon Moreno Properties Two LLC and Nicholson Estates LLC, through their attorney of
   record via the Court’s CM/ECF by electronic (email) transmission to:

                 William E. Steffes, bsteffes@steffeslaw.com

   And upon TCM 2011 DOH Grantor Retained Annuity Trust, MBM 2011 DOH Grantor Retained
   Annuity Trust, TCM 2011 MGH Grantor Retained Annuity Trust, and MBM 2011 MGH
   Grantor Retained Annuity Trust by depositing a copy of same in the U.S. Mail, postage prepaid
   on February 1, 2018, and properly addressed to:

                 TCM 2011 DOH Grantor Retained Annuity Trust
                 MBM 2011 DOH Grantor Retained Annuity Trust
                 TCM 2011 MGH Grantor Retained Annuity Trust
                 MBM 2011 MGH Grantor Retained Annuity Trust
                 c/o Dalis Moreno Waguespack
                 200 Brahmwell Court
                 Lafayette, LA 70508

          Lafayette, Louisiana, January 31, 2018.

                                                               /s/ Richard J. Hymel
                                                               Richard J. Hymel
